 1                                                                        The Honorable Lauren King
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                           NO. 2:25-cv-00244-LK
10                               Plaintiffs,                DECLARATION OF TODD R.
                                                            BOWERS IN SUPPORT OF
11      v.                                                  PLAINTIFFS’ MOTION FOR
                                                            CONTEMPT, SHORTENED TIME,
12   DONALD J. TRUMP, in his official capacity              AND ATTORNEYS’ FEES
     as President of the United States, et al.,
13                                                          NOTE ON MOTION CALENDAR:
                                 Defendants.                Friday March 14, 2025
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                                                            ORAL ARGUMENT REQUESTED
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16             I, Todd R. Bowers, declare as follows:

17             1.     I am over the age of 18, competent to testify as to the matters herein, and make

18   this declaration based on my personal knowledge.

19             2.     I am a Deputy Attorney General in the Washington State Attorney General’s

20   Office. I have served in this role since 2017 and have served as an attorney and supervisor in

21   Attorney General’s Office since October 1995. I supervise the work of the litigation team

22   handling this matter.

23             3.     The Washington State Attorney General’s Office uses set hourly billing rates,

24   updated periodically, for its attorneys and paralegals, based on the reasonable and customary

25   fees charged in the area for professionals with similar years of experience in the relevant subject

26   matter.


     DECL. OF TODD R. BOWERS ISO PLS.’                  1             ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
     MOT. FOR CONTEMPT, SHORTENED                                          800 Fifth Avenue, Suite 2000
     TIME, AND ATTORNEYS’ FEES                                                 Seattle, WA 98104
                                                                                  (206) 464-7744
     NO. 2:25-cv-00244-LK
 1          4.      Assistant Attorney General William McGinty is an Assistant Attorney General in
 2   the Complex Litigation Division and is one of the attorneys of record in this action. Mr. McGinty
 3   graduated from the University of California, Berkeley, School of Law in 2009, and was admitted
 4   to the Washington State Bar the same year. He joined the Washington State Attorney General’s
 5   Office in 2013. He regularly handles litigation in U.S. District Courts. The billing rate for
 6   Mr. McGinty is $517 per hour. This is a reasonable rate for an attorney with Mr. McGinty’s
 7   experience. Mr. McGinty spent 12.5 hours attempting to resolve the dispute giving rise to the
 8   instant motion and performing research for the motion, preparing the motion, preparing
 9   supporting declarations, and preparing supporting exhibits.
10          5.      Assistant Attorney General Colleen Melody is the Chief of the Civil Rights
11   Division in the Washington State Attorney General’s Office and is one of the attorneys of record
12   in this action. Ms. Melody graduated from the University of Washington Law School in 2009,
13   and was admitted to the Washington State Bar in 2010. She clerked for the Honorable Ronald
14   M. Gould of the U.S. Court of Appeals for the Ninth Circuit, then spent nearly five years with
15   the U.S. Department of Justice’s Civil Rights Division in Washington, D.C. Since 2015, she has
16   served in the Civil Rights Division where she regularly handles litigation in U.S. District Courts
17   and U.S. Courts of Appeals. The billing rate for Ms. Melody is $517 per hour. This is a
18   reasonable rate for an attorney with Ms. Melody’s experience. Ms. Melody spent 8.25 hours
19   attempting to resolve the dispute giving rise to the instant motion and preparing the motion,
20   preparing supporting declarations, coordinating with declarants, and preparing supporting
21   exhibits.
22          6.      Assistant Attorney General Andrew Hughes is a Section Chief of the Complex
23   Litigation Division and is one of the attorneys of record in this action. Mr. Hughes graduated
24   from Harvard Law School in 2011 and was admitted to the Illinois State Bar that same year, then
25   the Washington State Bar in 2015. He clerked for Chief Justice Dana Fabe of the Alaska Supreme
26   Court, then spent six years in private practice in Chicago and Seattle, before joining the Complex

     DECL. OF TODD R. BOWERS ISO PLS.’                2               ATTORNEY GENERAL OF WASHINGTON
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 1   Litigation Division in 2018. He regularly handles litigation in U.S. District Courts and U.S.
 2   Courts of Appeals. The billing rate for Mr. Hughes is $466 per hour. This is a reasonable rate
 3   for an attorney with Mr. Hughes’s experience. Mr. Hughes spent 6.5 hours preparing the motion
 4   and supporting papers.
 5             7.    Paralegal Victoria Johnson is a supervising Paralegal 2 in the Complex Litigation
 6   Division in the Washington State Attorney General’s Office and is the primary professional staff
 7   member assigned to this action. Ms. Johnson has worked in the division since May of 2021. The
 8   billing rate for Ms. Johnson is $158 per hour. This is a reasonable rate for a paralegal with
 9   Ms. Johnson’s experience. Ms. Johnson spent 10.5 hours preparing the motion and supporting
10   papers.
11             8.    Paralegal Tally Locke is a Paralegal 1 in Complex Litigation Division in the
12   Washington State Attorney General’s Office and is the secondary professional staff member
13   assigned to this action. Ms. Locke has worked in the Attorney General’s Office since
14   October 2021. The billing rate for Ms. Locke is $158 per hour. This is a reasonable rate for a
15   paralegal with Ms. Locke’s experience. Ms. Locke spent 5.7 hours preparing the motion and
16   supporting papers.
17             9.    Paralegal Alicia Stensland is a Paralegal 2 in Complex Litigation Division in the
18   Washington State Attorney General’s Office and is the primary professional staff member
19   assigned to this action. Alicia has worked in the Washinton State Attorney General’s Office since
20   September 2018 and with Complex Litigation since August 2021. The billing rate for Alicia is
21   $158 per hour. This is a reasonable rate for a paralegal with Alicia’s experience. Alicia spent 4.5
22   hours preparing the motion and supporting papers.
23             10.   Paralegal Jamie Wuco is a Paralegal 2 in Complex Litigation Division in the
24   Washington State Attorney General’s Office and is the secondary professional staff member
25   assigned to this action. Ms. Wuco has worked in the division since July 2024. The billing rate
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                                                                           Complex Litigation Division
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 1   for Ms. Wuco is $158 per hour. This is a reasonable rate for a paralegal with Ms. Wuco’s
 2   experience. Ms. Wuco spent 3.9 hours preparing the motion and supporting papers.
 3          11.     The total of the hourly rates above, multiplied by the hours worked, is $17,643.55.
 4   None of this accounts for night, weekend, or overtime work, which much of the work to prepare
 5   this motion entailed. I will supplement this declaration when the reply brief in support of this
 6   motion is filed.
 7          I declare under penalty of perjury under the laws of the State of Washington and the
 8   United States of America that the foregoing is true and correct.
 9          DATED this 6th day of March 2025 at Seattle, Washington.
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11                                                TODD R. BOWERS, WSBA #25274
                                                  Deputy Attorney General
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